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lN THE UNITED STATES D|STFHCT COUFlT mg §§
FOR THE WESTEF¥N DlSTRlCT OF TENNESSEE
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uNlTEo sTATEs oi= AMERICA, W-D- OF mr “"ii'-'“"”H'S

P|al`ntiff

VS.
CFt. NO. 03-20327-B

TONY SEA,

Defendant.

 

OFiDEFi ON CONTINUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on April 25, 2005. At that time, counsel for the
defendant requested a continuance of the l\/lay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with a @pgt
date of Tuesdav. l\llav 31. 2005. at 9:30 a.m., in Courtroom 1, 11th F|oorof the Federa|
Building, Nlemphis, T|\l.

The period from i\/lay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy of the document docketed as number 76 in
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Honorable J. Breen
US DISTRICT COURT

